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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In re:                                        )     Chapter 11
                                              )
OTB HOLDING LLC,                              )     Case No. 25-52415 (SMS)
                                              )
             Debtor.                          )     (Joint Administration Requested)
                                              )
 Tax I.D. No. XX-XXXXXXX                      )
                                              )
                                              )
In re:                                        )     Chapter 11
                                              )
OTB ACQUISITION LLC,                          )     Case No. 25-52416 (SMS)
                                              )
             Debtor.                          )     (Joint Administration Requested)
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )     Chapter 11
                                              )
OTB ACQUISITION OF NEW JERSEY LLC,            )     Case No. 25-52417 (SMS)
                                              )
             Debtor.                          )     (Joint Administration Requested)
                                              )
 Tax I.D. No. XX-XXXXXXX                      )
                                              )
                                              )
In re:                                        )     Chapter 11
                                              )
OTB ACQUISITION OF HOWARD COUNTY              )     Case No. 25-52418 (SMS)
LLC                                           )
          Debtor.                             )     (Joint Administration Requested)
                                              )
 Tax I.D. No. XX-XXXXXXX                      )
                                              )
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                                    )
In re:                              )                      Chapter 11
                                    )
MT. LAUREL RESTAURANT OPERATIONS    )                      Case No. 25-52419 (SMS)
LLC,                                )
                                    )                      (Joint Administration Requested)
              Debtor.               )
                                    )
Tax I.D. No. XX-XXXXXXX             )
                                    )
                                    )
In re:                              )                      Chapter 11
                                    )
OTB ACQUISITION OF KANSAS LLC,      )                      Case No. 25-52420 (SMS)
                                    )
              Debtor.               )                      (Joint Administration Requested)
                                    )
 Tax I.D. No. XX-XXXXXXX            )
                                    )
                                    )
In re:                              )                      Chapter 11
                                    )
OTB ACQUISITION OF BALTIMORE COUNTY,)                      Case No. 25-52421 (SMS)
 LLC,                               )
                                    )                      (Joint Administration Requested)
              Debtor.               )
                                    )
 Tax I.D. No. XX-XXXXXXX            )
                                    )

  DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER (I) DIRECTING
        JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES
                AND (II) GRANTING RELATED RELIEF

       The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Emergency Motion for an Entry of an Order (I) Directing Joint Administration of Related

Chapter 11 Cases and (II) Granting Related Relief (the “Motion”). In support of this Motion, the

Debtors respectfully represent as follows:




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                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over these cases and this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409(a).

       2.      The bases for the relief requested herein are sections 105(a), 1107 and 1108 of title

11 of the United States Code (the “Bankruptcy Code”), Rules 1015(b) and 6003 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Procedure C of the Second Amended

and Restated General Order 26-2019, Procedures for Complex Chapter 11 Cases, dated February

6, 2023 (the “Complex Case Procedures”).

                                        BACKGROUND

       3.      On March 4, 2025 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Northern District of Georgia, Atlanta Division (the “Court”). The Debtors have continued in

possession of their properties and have continued to operate and manage their business as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request has been

made for the appointment of a trustee or examiner, and no official committee of unsecured

creditors has been appointed in any of these cases.

       4.      The factual background relating to the Debtors’ commencement of these cases is

set forth in detail in the Declaration of Jonathan M. Tibus in Support of Chapter 11 Petitions and




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First Day Pleadings (the “First Day Declaration”) filed on or about the date hereof and

incorporated herein by reference.1

                                           RELIEF REQUESTED

         5.      The Debtors request that the Court order procedural consolidation and joint

administration of their related chapter 11 cases. The Debtors also request that the Court maintain

one file and one docket for all of the jointly-administered cases under the case of OTB Holding

LLC and that the Court administer these chapter 11 cases under a consolidated caption, as follows:

                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         )        Chapter 11
                                                               )
OTB HOLDING LLC, et al.,1                                      )        Case No. 25-52415 (SMS)
                                                               )
                                                               )
                 Debtors.                                      )        (Jointly Administered)
                                                               )

___________________
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: OTB Holding LLC (3213), OTB Acquisition LLC (8500), OTB Acquisition of New Jersey LLC
    (1506), OTB Acquisition of Howard County LLC (9865), Mt. Laurel Restaurant Operations LLC (5100), OTB
    Acquisition of Kansas LLC (9014), OTB Acquisition of Baltimore County, LLC (6963). OTB Holding LLC’s
    service address is One Buckhead Plaza, 3060 Peachtree Road, NW, Atlanta, GA 30305.

         6.      The Debtors also seek the Court’s direction that a notation substantially similar to

the following notation be entered on the docket of each Debtor’s case to reflect the joint

administration of these cases:




1
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the
    First Day Declaration.



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                An Order has been entered in accordance with Rule 1015(b) of the
                Federal Rules of Bankruptcy Procedure directing joint
                administration of the chapter 11 cases of: OTB Holding LLC, Case
                No. 25-52415 (SMS); OTB Acquisition LLC, Case No. 25-52416
                (SMS); OTB Acquisition of New Jersey LLC, Case No. 25-52417
                (SMS); OTB Acquisition of Howard County LLC, Case No. 25-
                52418 (SMS);Mt. Laurel Restaurant Operations LLC, Case No. 25-
                52419 (SMS); OTB Acquisition of Kansas LLC, Case No. 25-52420
                (SMS); and OTB Acquisition of Baltimore County, LLC, Case No.
                25-52421 (SMS). All further pleadings and other papers shall
                be filed in and all further docket entries shall be made in Case
                No. 25-52415 (SMS).

       7.       Finally, the Debtors seek authority to file the monthly operating reports required by

the U.S. Trustee Operating Guidelines on a consolidated basis. This will further administrative

economy and efficiency without prejudice to any party in interest.

                               BASIS FOR RELIEF REQUESTED

       8.       Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions

are pending in the same court by or against . . . a debtor and an affiliate, the court may order a joint

administration of the estates.” The Debtors are “affiliates” as that term is defined under section

101(2) of the Bankruptcy Code. Accordingly, the Court is authorized to grant the requested relief.

       9.       Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. The

Debtors intend to file with the Court numerous motions and applications, including the various

motions and applications which have been filed on the first day of these cases. Joint administration

for procedural purposes of these cases will avoid unnecessary delay and expense by obviating the

need for the Debtors to file duplicative motions and applications and for the Court to enter

duplicative orders in each of these chapter 11 cases. Joint administration will also avoid the

burdensome necessity of duplicating notices to numerous creditors. Finally, supervision of the


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administrative aspects of these chapter 11 cases by the Office of the United States Trustee for the

Northern District of Georgia will be simplified by joint administration of the cases.

        10.      The rights of the respective creditors will not be adversely affected by joint

administration of these cases because the relief sought in this Motion is purely procedural and is

in no way intended to affect substantive rights.

        11.      Joint administration of interrelated chapter 11 cases is routinely approved by

bankruptcy courts in this jurisdiction under similar circumstances and generally is non-

controversial. See, e.g., In re LaVie Care Centers LLC, Case No. 24-55507 (PMB) (Bankr. N.D.

Ga. June 3, 2024) [Docket No. 20]; In re Regional Housing & Cmty. Servs. Corp., Case No. 21-

41034 (PWB) (Bankr. N.D. Ga. Aug 27, 2021) [Docket No. 18]; In re Virtual Citadel, Inc., Case

No. 20-62725 (JWC) (Bankr. N.D. Ga. Feb. 19, 2020) [Docket No. 25]; In re The Krystal Company,

Case No. 20-61065 (PWB) (Bankr. N.D. Ga. Jan. 22, 2020) [Docket No. 33]; In re Jack Cooper

Ventures, Inc., Case No. 19-62393 (PWB) (Bankr. N.D. Ga. Aug. 8, 2019) [Docket No. 57]; In re

Atlantis Plastics, Inc., Case No. 08-75473 (PWB) (Bankr. N.D. Ga. Aug. 12, 2018) [Docket No.

37]; In re Beaulieu Grp., LLC, Case No. 17-41677 (PWB) (Bankr. N.D. Ga. July 19, 2017) [Docket

No. 33]; In re Southern Regional Health System, Inc., Case No. 15-64266 (WLH) (Bankr. N.D.

Ga. Aug. 6, 2015) [Docket No. 36].2

                                   EMERGENCY CONSIDERATION

        12.      The Debtors respectfully request emergency consideration of this Motion pursuant

to Bankruptcy Rule 6003, which empowers a court to grant relief within the first twenty-one (21)



2
    Because of the voluminous nature of the orders cited herein, these orders are not attached to the motion. Copies
    of these orders are available upon request from the Debtors’ proposed counsel.



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days after the commencement of a chapter 11 case “to the extent that relief is necessary to avoid

immediate and irreparable harm.” Here, the Debtors believe an immediate and orderly transition

into chapter 11 is critical to the viability of their operations and that any delay in granting the relief

requested could hinder the Debtors’ operations and cause irreparable harm. Furthermore, the

failure to receive the requested relief during the first twenty-one (21) days of these chapter 11 cases

would severely disrupt the Debtors’ operations at this critical juncture. Accordingly, the Debtors

submit that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule

6003 and, therefore, respectfully request that the Court approve the relief requested in this Motion

on an emergency basis.

                                               NOTICE

        13.     Notice of this Motion has been provided to: (a) the Office of the United States

Trustee for the Northern District of Georgia; (b) the Debtors’ thirty (30) largest unsecured

creditors; (c) counsel to the Debtors’ prepetition lenders; (d) counsel to the Debtors’ debtor-in-

possession lender; (e) the Internal Revenue Service; (f) the Georgia Department of Revenue; (g)

the Attorney General for the State of Georgia; (h) the United States Attorney for the Northern

District of Georgia; (i) the state attorneys general for states in which the Debtors conduct business;

and (j) any party that has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature

of the relief requested, the Debtors respectfully submit that no further notice is necessary.

                                       NO PRIOR REQUEST

        14.     No prior request for the relief sought in the motion has been made to this or any

other court.




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                                        CONCLUSION

       WHEREFORE, the Debtors request this Court enter an order, substantially in the form of

Exhibit A, granting the relief requested herein and such other and further relief as the Court may

deem just and proper.

                            [Remainder of Page Intentionally Blank]




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Date: March 4, 2025                       Respectfully submitted,
      Atlanta, Georgia
                                          KING & SPALDING LLP


                                          /s/ Jeffrey R. Dutson
                                          Jeffrey R. Dutson
                                          Georgia Bar No. 637106
                                          Brooke L. Bean
                                          Georgia Bar No. 764552
                                          Alice Kyung Won Song
                                          Georgia Bar No. 692753
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                                          1180 Peachtree Street NE
                                          Atlanta, Georgia 30309
                                          Telephone: (404) 572-4600
                                          Email: jdutson@kslaw.com
                                          Email: bbean@kslaw.com
                                          Email: asong@kslaw.com

                                          Proposed Counsel for the Debtors in Possession
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                                    Exhibit A

                                 Proposed Order
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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In re:                                        )      Chapter 11
                                              )
OTB HOLDING LLC,                              )      Case No. 25-52415 (SMS)
                                              )
             Debtor.                          )      (Joint Administration Requested)
                                              )
 Tax I.D. No. XX-XXXXXXX                      )
                                              )
                                              )
In re:                                        )      Chapter 11
                                              )
OTB ACQUISITION LLC,                          )      Case No. 25-52416 (SMS)
                                              )
             Debtor.                          )      (Joint Administration Requested)
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
                                              )
In re:                                        )      Chapter 11
                                              )
OTB ACQUISITION OF NEW JERSEY LLC,            )      Case No. 25-52417 (SMS)
                                              )
             Debtor.                          )      (Joint Administration Requested)
                                              )
 Tax I.D. No. XX-XXXXXXX                      )
                                              )
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                                    )
In re:                              )             Chapter 11
                                    )
OTB ACQUISITION OF HOWARD COUNTY    )             Case No. 25-52418 (SMS)
LLC                                 )
              Debtor.               )             (Joint Administration Requested)
                                    )
 Tax I.D. No. XX-XXXXXXX            )
                                    )
                                    )
In re:                              )             Chapter 11
                                    )
MT. LAUREL RESTAURANT OPERATIONS    )             Case No. 25-52419 (SMS)
LLC,                                )
                                    )             (Joint Administration Requested)
              Debtor.               )
                                    )
Tax I.D. No. XX-XXXXXXX             )
                                    )
                                    )
In re:                              )             Chapter 11
                                    )
OTB ACQUISITION OF KANSAS LLC,      )             Case No. 25-52420 (SMS)
                                    )
              Debtor.               )             (Joint Administration Requested)
                                    )
 Tax I.D. No. XX-XXXXXXX            )
                                    )
                                    )
In re:                              )             Chapter 11
                                    )
OTB ACQUISITION OF BALTIMORE COUNTY,)             Case No. 25-52421 (SMS)
 LLC,                               )
                                    )             (Joint Administration Requested)
              Debtor.               )
                                    )
 Tax I.D. No. XX-XXXXXXX            )
                                    )




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  ORDER (I) DIRECTING JOINT ADMINISTRATION OF RELATED CHAPTER 11
               CASES AND (II) GRANTING RELATED RELIEF

       This matter is before the Court on the Emergency Motion for Entry of an Order (I)

Directing Joint Administration of Related Chapter 11 Cases and (II) Granting Related Relief (the

“Motion”) [Docket No. ___] of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”). All capitalized terms used but not defined herein shall have the

meanings given to them in the Motion.

       The Court has considered the Motion, the First Day Declaration, and the matters reflected

in the record of the hearing held on the Motion on _______, 2025. It appears that proper and

adequate notice of the Motion has been given and that no other or further notice is necessary; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §1408; and it appearing that the relief requested is in the best interests of the Debtors,

the Debtors’ estates, their creditors, and other parties in interest, and that good cause has been

shown therefor; IT IS HEREBY ORDERED:

       1.      The Motion is granted to the extent set forth herein.

       2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 25-52415 (SMS).

       3. The caption of the jointly administered cases should read as follows:




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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                         )        Chapter 11
                                                               )
OTB HOLDING LLC, et al.,1                                      )        Case No. 25-52415 (SMS)
                                                               )
                                                               )
                 Debtors.                                      )        (Jointly Administered)
                                                               )

___________________
1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: OTB Holding LLC (3213), OTB Acquisition LLC (8500), OTB Acquisition of New Jersey LLC
    (1506), OTB Acquisition of Howard County LLC (9865), Mt. Laurel Restaurant Operations LLC (5100), OTB
    Acquisition of Kansas LLC (9014), OTB Acquisition of Baltimore County, LLC (6963). OTB Holding LLC’s
    service address is One Buckhead Plaza, 3060 Peachtree Road, NW, Atlanta, GA 30305.

         4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

         5.      A docket entry substantially similar to the following notation be entered on the

docket of each Debtor’s case to reflect the joint administration of these cases:


                 An Order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure directing joint
                 administration of the chapter 11 cases of: OTB Holding LLC, Case
                 No. 25-52415 (SMS); OTB Acquisition LLC, Case No. 25-52416
                 (SMS); OTB Acquisition of New Jersey LLC, Case No. 25-52417
                 (SMS); OTB Acquisition of Howard County LLC, Case No. 25-
                 52418 (SMS);Mt. Laurel Restaurant Operations LLC, Case No. 25-
                 52419 (SMS); OTB Acquisition of Kansas LLC, Case No. 25-52420
                 (SMS); and OTB Acquisition of Baltimore County LLC, Case No.
                 25-52421 (SMS) All further pleadings and other papers shall be
                 filed in and all further docket entries shall be made in Case No.
                 25-52415 (SMS).




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       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Northern District of Georgia shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

       7.      The Debtors are authorized to file the monthly operating reports required by the

U.S. Trustee Operating Guidelines on a consolidated basis.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a), the Bankruptcy Local Rules for

the Northern District of Georgia and the Complex Case Procedures are satisfied by such notice.

       10.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       11.     The Court finds and determines that the requirements of Bankruptcy Rule 6003 are

satisfied and that the relief requested is necessary to avoid immediate and irreparable harm.

       12.     This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

       13.     Proposed counsel for the Debtors, through Kurtzman Carson Consultants, LLC

d/b/a Verita Global (“Verita”) shall, within three (3) days of the entry of this Order, cause a copy

of this Order to be served by electronic mail or first class mail, as applicable, on all parties served




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with the Motion, and Verita shall file promptly thereafter a certificate of service confirming such

service.

                                       [END OF ORDER]




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Prepared and presented by:

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